Case 5:20-cv-00036-JPB-JPM Document1 Filed 02/19/20 Page 1of 43 PagelD #: 1

Rev. 5/2017 Prisoner Complaint — FILED =
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FEB 19 2020

U.S. DISTRICT COURT-WVND
CLARKSBURG, WV 26301

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(in the space above enter the full name(s) of the plaintiff(s).)

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(In the space above enter the full name(s) of the defendant(s). If you cannot
Sit the names of all of the defendants in the space provided, please write
“see attached" in the space above and attach an additional sheet of paper
with the full list of names. The names listed in the above caption must be
identical to those contained in Section IV. Do not include addresses here.)

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should nof
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the last
four digits of a social security number; the year of an individual’s birth; a minor’s initials; and

the last four digits of a financial account number. .

 

 

 

Page 1 of 10
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Rev. 5/2017 Prisoner Complaint

I. COMPLAINT

Indicate below the federal legal basis for your claim, if known. This form is designed primarily for

Pro se prisoners challenging the constitutionality of their conditions of confinement, claims which
are often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or in a
“Bivens” action (against federal defendants).

C} 420U.S.C. § 1983 (state, county, or municipal defendants)

= Action under Bivens v, Six Unknown Federal Narcotics Agents 43 U.S. 388 (1 971)
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federal defendants). See. aWWeched ludsdicltc: \ page. /

a Action under Federal Tort Claims Act (United states is the proper aerendarit; must nave -
presented claim in writing to the appropriate Federal agencv and received a notice of final
denial of the claim pursuant to 28 1/.S8.C. § 2401(b)),

Ul. PLAINTIFF INFORMATION
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Name \

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Prisoner ID #

Us Wazethor
Place of Detention

LOB BCOCO

 

 

Institutional Address
“Deuceton Nis Ne. AWwSD-5
City State Zip Code

Ill, PRISONER STATUS

Indicate whether you are a prisoner or other confined person as follows:
(J Pretrial detainee [ State [J Federal
[  Civilly committed detainee
{J Immigration detainee
[j_. Convicted and sentenced state prisoner
a Convicted and sentenced federal prisoner

Page 2 of 10
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IV. DEFENDANT(S) INFORMATION

Please list the following information for each defendant. If the correct information is not provided,
it could result in the delay or prevention of service. Make sure that the defendant(s) listed below
are identical to those contained in the above caption. Attach additional sheets of paper as

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City State Zip Code

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Defendant 2: Directoc Wer wi tz.
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Director BoP Agee ey
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Current Job Title

 

 

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Current Work Address

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Defendant(s) Continued

Defendant 3: \ cela iw Dunbar
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VI. ADMINISTRATIVE PROCEDURES

WARNING: Prisoners must exhaust administrative procedures before filing an action in federal
court about prison conditions. 42 U.S.C. § 1997e(a). Your case may be dismissed if you have not

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VIII. PRISONER’S LITIGATION HISTORY

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in forma pauperis
in federal court if that prisoner has “on three or more occasions, while incarcerated or detained
in any facility, brought an action or appeal in a court of the United States that was dismissed on
the grounds that it is frivolous, malicious, or fails to state a claim upon which relief may be granted,
unless the prisoner is under imminent danger of serious physical injury.” 28

U.S.C. §1915(g). :
Have you brought any other lawsuits in state or federal court while a es CJ No
prisoner?

If yes, how many? _ON<* (3)

Number each different lawsuit below and include the following:

© Name of case (including defendants’ names), court, and docket number

e Nature of claim made
e How did it end? (For example, if it was dismissed, appealed, or is still pending, explain

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Rev. 10/2015 Prisoner Complaint

IX. PLAINTIFF’S DECLARATION AND WARNING

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge,
information, and belief that this complaint: (1) is not being presented for an improper purpose, such
as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported
by existing law or by a nonfrivolous argument for extending or modifying existing law; (3) the
factual contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery; and (4)
the complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk's Office may result in the dismissal of my case.

Each Plaintiff must sign and date the complaint and provide prison-id tification number and
prison address. .

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Dated Plaintiff's Signaturé
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